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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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           Belen Acevedo,                            Case No.
 
                   Plaintiff,                        Complaint For Damages And
                                                  Injunctive Relief For Violations
             v.                                      Of: American’s With Disabilities
                                                  Act; Unruh Civil Rights Act
           Prologis Logistics Services
        Incorporated, a Delaware
           Corporation;
        Thomas Atoyan;
           Arthur Atoyan; and Does 1-10,
 
                   Defendants.
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 
               Plaintiff Belen Acevedo complains of Prologis Logistics Services
 
       Incorporated, a Delaware Corporation; Thomas Atoyan; Arthur Atoyan; and
 
       Does 1-10 (“Defendants”) and alleges as follows:
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               PARTIES:
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           1. Plaintiff is a California resident with physical disabilities. She suffers
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       from multiple sclerosis. She uses a walker and a scooter for mobility.
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           2. Defendant Prologis Logistics Services Incorporated owned the real
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       property located at or about 12000 Slauson Avenue, Santa Fe Springs,

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     California, in August 2018.
         3. Defendant Prologis Logistics Services Incorporated owns the real
     property located at or about 12000 Slauson Avenue, Santa Fe Springs,
     California, currently.
         4. Defendants Thomas Atoyan and Arthur Atoyan owned Sako’s Sandwich
     Shop located at or about 12000 Slauson Avenue, Santa Fe Springs, California,
     in August 2018.
         5. Defendants Thomas Atoyan and Arthur Atoyan own Sako’s Sandwich
     Shop (“Restaurant”) located at or about 12000 Slauson Avenue, Santa Fe
    Springs, California, currently.
        6. Plaintiff does not know the true names of Defendants, their business
    capacities, their ownership connection to the property and business, or their
    relative responsibilities in causing the access violations herein complained of,
    and alleges a joint venture and common enterprise by all such Defendants.
    Plaintiff is informed and believes that each of the Defendants herein,
    including Does 1 through 10, inclusive, is responsible in some capacity for the
    events herein alleged, or is a necessary party for obtaining appropriate relief.
    Plaintiff will seek leave to amend when the true names, capacities,
    connections, and responsibilities of the Defendants and Does 1 through 10,
    inclusive, are ascertained.
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        JURISDICTION & VENUE:
        7. This Court has subject matter jurisdiction over this action pursuant to
    28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
        8. Pursuant to supplemental jurisdiction, an attendant and related cause
    of action, arising from the same nucleus of operative facts and arising out of
    the same transactions, is also brought under California’s Unruh Civil Rights


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     Act, which act expressly incorporates the Americans with Disabilities Act.
         9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
     founded on the fact that the real property which is the subject of this action is
     located in this district and that Plaintiff's cause of action arose in this district.
  
         FACTUAL ALLEGATIONS:
         10.Plaintiff went to the Restaurant in August 2018 to eat.
         11.The Restaurant is a facility open to the public, a place of public
     accommodation, and a business establishment.
        12.Restrooms are one of the facilities, privileges and advantages offered by
    defendants to patrons of the Restaurant.
        13.The seat cover dispenser was mounted so that its highest operable part
    was greater than 48 inches above the finish floor and inaccessible to
    wheelchair users. In fact, the seat cover dispenser was 60 inches high. As a
    result, plaintiff needed assistance to reach it.
        14.Additionally, the soap dispenser was 59 inches high.
        15.The plumbing underneath the sink was not wrapped to protect against
    burning contact.
        16.Currently, the seat cover dispenser is mounted so that its highest
    operable part is greater than 48 inches above the finish floor and inaccessible
    to wheelchair users.
        17.Currently, the soap dispenser is 59 inches high.
        18.Currently, the plumbing underneath the sink is not wrapped to protect
    against burning contact.
        19.Transaction counters are also one of the facilities, privileges and
    advantages offered by defendants to patrons of the Restaurant.
        20.Unfortunately, the transaction counter at the Restaurant was more than
    36 inches in height. In fact, the transaction counter was about 40 inches in


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     height.
         21.There was no lowered, 36 inch portion of the transaction counter at the
     Restaurant for use by persons in wheelchairs to conduct transactions.
         22.Currently, the transaction counter at the Restaurant is more than 36
     inches in height.
         23.Currently, there is no lowered, 36 inch portion of the transaction
     counter at the Restaurant for use by persons in wheelchairs.
         24.Plaintiff personally encountered these barriers.
         25.This inaccessible facility denied the plaintiff full and equal access and
    caused her difficulty, discomfort, and embarrassment.
        26.Outdoor dining tables are one of the facilities, privileges, and
    advantages offered by Defendants to patrons of the Restaurant.
        27.Meanwhile, and even though the plaintiff did not personally confront
    the barrier, the outdoor dining tables are fixed and do not provide the toe and
    knee clearances necessary for wheelchair users.
        28.Defendants have failed to maintain in operable working condition those
    features of facilities and equipment that are required to be readily accessible to
    and usable by persons with disabilities at the Subject Property.
        29.Plaintiff plans to return and patronize the Restaurant but is deterred
    from visiting until the defendants remove the barriers.
        30.The defendants have failed to maintain in working and useable
    conditions those features required to provide ready access to persons with
    disabilities.
        31.The barriers identified above are easily removed without much
    difficulty or expense. They are the types of barriers identified by the
    Department of Justice as presumably readily achievable to remove and, in fact,
    these barriers are readily achievable to remove. Moreover, there are numerous
    alternative accommodations that could be made to provide a greater level of


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     access if complete removal were not achievable.
         32.The restroom dispensers could be lowered to a compliant height for
     little to no cost.
         33.Insulation can be installed under the sink at a cost of no more than $25.
         34.A common barrier removal project is modifying transaction counters to
     make a portion of the counter accessible. This is a simple construction task,
     well within the capabilities of any general contractor. The task can be
     completed easily and for a modest price.
         35.The tables outside are easily replaced at a low-dollar cost. A compliant
    table would cost no more than $500 total.
        36.Plaintiff is deterred from returning and patronizing the Restaurant
    because of her knowledge of the barriers that exist. Plaintiff will, nonetheless,
    return to assess ongoing compliance with the ADA and will return to patronize
    the Restaurant as a customer once the barriers are removed.
        37.Given the obvious and blatant nature of the barriers and violations
    alleged herein, the plaintiff alleges, on information and belief, that there are
    other violations and barriers on the site that relate to her disability. Plaintiff
    will amend the complaint, to provide proper notice regarding the scope of this
    lawsuit, once she conducts a site inspection. However, please be on notice that
    the plaintiff seeks to have all barriers related to her disability remedied. See
    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
    encounters one barrier at a site, she can sue to have all barriers that relate to
    her disability removed regardless of whether she personally encountered
    them).
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     I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
     WITH DISABILITIES ACT OF 1990 (On behalf of plaintiff and against all
     defendants (42U.S.C. section 12101, et seq.)
         38.Plaintiff repleads and incorporates by reference, as if fully set forth
     again herein, the allegations contained in all prior paragraphs of this
     complaint.
         39.Under the ADA, it is an act of discrimination to fail to ensure that the
     privileges, advantages, accommodations, facilities, goods and services of any
     place of public accommodation is offered on a full and equal basis by anyone
    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
    § 12182(a). Discrimination is defined, inter alia, as follows:
              a. A failure to make reasonable modifications in policies, practices,
                 or procedures, when such modifications are necessary to afford
                 goods,    services,    facilities,   privileges,    advantages,   or
                 accommodations to individuals with disabilities, unless the
                 accommodation would work a fundamental alteration of those
                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
              b. A failure to remove architectural barriers where such removal is
                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
                 defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
                 Appendix “D.”
              c. A failure to make alterations in such a manner that, to the
                 maximum extent feasible, the altered portions of the facility are
                 readily accessible to and usable by individuals with disabilities,
                 including individuals who use wheelchairs or to ensure that, to the
                 maximum extent feasible, the path of travel to the altered area and
                 the bathrooms, telephones, and drinking fountains serving the
                 altered area, are readily accessible to and usable by individuals


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                   with disabilities. 42 U.S.C. § 12183(a)(2).
         40.If controls, dispensers, receptacles or other equipment is provided in a
     restroom, they must be on an accessible route and be mounted so that their
     highest operable parts are no greater than 48 inches above the floor. 2010
     Standards § 308.3.1.
         41.Here, the failure to ensure that the wall mounted accessories met the
     height requirement is a violation of the ADA.
         42.Hot water and drain pipes under lavatories must be insulated or
     otherwise configured to protect against contact. 2010 Standards §606.5.
        43.Here, the failure to wrap the plumbing underneath the sink is a violation
    of the ADA.
        44.Under the 2010 Standards, where the approach to the sales or service
    counter is a parallel approach, such as in this case, there must be a portion of
    the sales counter that is no higher than 36 inches above the floor and 36 inches
    in width and must extend the same depth as the rest of the sales or service
    counter top. 2010 Standards § 904.4 & 904.4.1.
        45.Here, no such accessible counter has been provided in violation of the
    ADA.
        46.Where fixed tables are provided, at least 5 percent, but not less than
    one, of the fixed tables shall be accessible. 2010 Standards § 226.1. To be
    accessible, the table surface cannot be higher than 34 inches above the floor.
    2010 Standards § 902.3. Moreover, there must be knee clearance for
    wheelchair users measuring at least 27 inches high, 30 inches wide, and 19
    inches deep. 2010 Standards § 306.3.
        47.Space under an element between the finish floor or ground and 9 inches
    above the finish floor or ground shall be considered toe clearance and shall
    comply with 306.2. However, toe clearance shall extend 17 inches to 25
    inches under an element and it shall be at least 30 inches in width. Space


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     extending greater than 6 inches beyond the available knee clearance at 9
     inches above the finish floor or ground shall not be considered toe clearance.
     2010 Standards §§ 306.2 (1-5).
         48.Here, there was no toe clearance at the fixed outdoor tables.
         49.Here the failure to provide accessible tables is a violation of the ADA
         50.The Safe Harbor provisions of the 2010 Standards are not applicable
     here because the conditions challenged in this lawsuit do not comply with the
     1991 Standards.
         51.A public accommodation must maintain in operable working condition
    those features of its facilities and equipment that are required to be readily
    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
        52.Here, the failure to ensure that the accessible facilities were available
    and ready to be used by the plaintiff is a violation of the law.
        53.Given its location and options, plaintiff will continue to desire to
    patronize the Restaurant but she has been and will continue to be
    discriminated against due to the lack of accessible facilities and, therefore,
    seeks injunctive relief to remove the barriers.
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    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
    RIGHTS ACT (On behalf of plaintiff and against all defendants) (Cal Civ §
    51-53)
        54.Plaintiff repleads and incorporates by reference, as if fully set forth
    again herein, the allegations contained in all prior paragraphs of this
    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
    that persons with disabilities are entitled to full and equal accommodations,
    advantages, facilities, privileges, or services in all business establishment of
    every kind whatsoever within the jurisdiction of the State of California. Cal.
    Civ. Code §51(b).


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         55.The Unruh Act provides that a violation of the ADA is a violation of the
     Unruh Act. Cal. Civ. Code, § 51(f).
         56.Defendants’ acts and omissions, as herein alleged, have violated the
     Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
     rights to full and equal use of the accommodations, advantages, facilities,
     privileges, or services offered.
         57.Because the violation of the Unruh Civil Rights Act resulted in difficulty,
     discomfort or embarrassment for the plaintiff, the defendants are also each
     responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
    (c).)
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              PRAYER:
              Wherefore, Plaintiff prays that this Court award damages and provide
    relief as follows:
            1.For injunctive relief, compelling Defendants to comply with the
    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
    plaintiff is not invoking section 55 of the California Civil Code and is not
    seeking injunctive relief under the Disabled Persons Act at all.
            2.Damages under the Unruh Civil Rights Act, which provides for actual
    damages and a statutory minimum of $4,000.
            3.Reasonable attorney fees, litigation expenses and costs of suit, pursuant
    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 
    Dated: February 13, 2019             CENTER FOR DISABILITY ACCESS
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                                            By:
                                         _______________________________
                                               Chris Carson, Esq.


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